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|N THE UN|TED STATES D|STFl|CT COURTHE BY_%____M
FOR THE WESTERN D|STR|CT OF TENNESSEE

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THOWS `M. UUULD
UN|TED STATES OF AMER|CA, O_EU)U.S. DISTHCTCO.BT
05 TN. MENPHS
P|aintiff,

VS.
CFL NO. 04-20442-5

GARLAND MANCE,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a change of plea date on June 23, 2005. At that time,
counsel for the defendant requested a continuance for change of plea date. A g_tmg§
of plea date was set for Mondaggl July18, 2005 at 1:30 p.m. in Cou rtroom 1l 1 tth Floor
of the Federa| Building, Memphis, TN.

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends otjustice served in allowing for additional time
to prepare outweigh the need for a s edy tria|.

lT |S SO ORDEFtED this §Q day of June, 2005.

 

J. A |EL BFtEEN
N|T D STATES D|STR|CTJ DGE

Thls document entered on the docket sheet in compliance
with Rnle 55 and/or Szrb) FHCrP on ' '

   

UNITED sTATE D"ISIC COURT - WESTRNE D'S'TRCT 0 TESSEE

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Honorable J. Breen
US DISTRICT COURT

